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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    NATIONAL VETERANS LEGAL
    SERVICES, et al.,

                       Plaintiffs,
                                                     Civil Action No. 16-745 (ESH)
                         v.

    UNITED STATES OF AMERICA

                      Defendant.

                                             NOTICE

        Pursuant to the Court’s request, Defendant hereby provides this Notice addressing

questions raised at the March 23, 2018 Motions Hearing in the above-captioned matter.

Specifically, the Court asked Defendant to provide support for the contention that members of the

Appropriations Committees engage in similar oversight of both how agencies spend user fee

receipts and how agencies spend discretionary appropriations.1

        As outlined below, a sampling of enacted law and committee reports confirms that

Congress—as well as members of the Appropriations Committees—provides express directives to

agencies about both the use of discretionary appropriations and receipts from user fees.

            Exhibit A: H. Rep. 115-234 at 36: Here, the House Appropriations Committee
             expressly demonstrated that both the House and Senate Appropriations Committees
             exercise close oversight of how the Judicial Conference uses receipts from PACER
             fees: “The Judiciary shall provide to the House and Senate Committees on
             Appropriations a report addressing (1) trends in [PACER] revenues since passage of
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 During the Motions Hearing, counsel for the Defendant and the Court addressed these questions
by referring to an apparent difference between “appropriated funds” and “non-appropriated funds.”
For clarity, it is worth noting that all such funds are “appropriated” whether they are discretionary
appropriations or receipts from user fees. See, e.g., Gov’t Accountability Office, 4.
Appropriations: The Enactment of Budget Authority at *6-*7 (2016), 2016 WL 1275439; see also
U.S. Const. art. I, § 9, cl. 7 (“No Money shall be drawn from the Treasury, but in Consequence of
Appropriations made by Law[.]”). And, as noted in the other attachments to this Notice, the use
of such fees is subject to oversight from the congressional appropriations committees.
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     the E-Government Act of 2002; (2) sources of PACER revenues broken out by general
     types of users, such as federal government, corporations, and individuals, over a five
     fiscal year period; (3) an itemization of how PACER revenues are spent … over the
     same five fiscal year period; and (4) initiatives planned or underway by the Judiciary
     to improved PACER technology, operations, or management for the purpose of
     providing greater functionality, and improved user experience, or greater efficiency.”

    Exhibit B: Pub. L. 110-161, Sec. 304: This Appropriations Act demonstrates that
     Congress identified the Appropriations Committees as the responsible authority for
     reviewing and approving the Administrative Office’s use of both discretionary
     appropriations and user fees: “Within 90 days after the date of the enactment of this
     Act, the Administrative Office of the U.S. Courts shall submit to the Committees on
     Appropriations a comprehensive financial plan for the Judiciary allocating all sources
     of available funds, including appropriations, fees collections and carryover balances[.]”
     (emphasis added)

    Exhibit C: Pub. L. 115-31, Sec. 608: This Appropriations Act demonstrates that
     Congress uses appropriations laws to direct how receipts from fees are used, stating
     that “none of the funds provided in this Act, … or provided from any accounts in the
     Treasury of the United States derived by the collection of fees and available to the
     agencies funded by this Act, shall be available for obligation or expenditures for an
     agency … which (1) creates new programs; (2) eliminates a program, project, or
     responsibility center … unless prior approval is received from the Committees on
     Appropriations of the House of Representatives and the Senate.” (emphasis added)

    Exhibit D: H. Rep. 114-668 at 78-79: This House Appropriations Committee Report
     demonstrates that appropriators exercise oversight of how receipts from fees are used,
     stating that a provision was added to “direct[ ] that none of the fees collected, including
     any deposits into the Immigrations Examinations Fee Account, may be obligated to
     expand the existing Deferred Action for Childhood Arrivals program[.]”

    Exhibit E, H. Rep. 114-205 at 27: This House Appropriations Committee Report
     demonstrates that appropriators exercise oversight of how fees are set, expressing the
     Committee’s “concerns about the proposed rules regarding adjustment to fees for
     [Agricultural Quarantine and Inspection] services and overtime reimbursement rates.”
     Specifically, the appropriators expressed concern regarding “significant” changes to
     existing fees that “will affect a wide variety of industries[.]”

    Exhibit F, H. Rep. 114-170 at 8: This House Appropriations Committee Report
     demonstrates that appropriators exercise oversight of how fees are established,
     expressly “reject[ing] the [Bureau of Land Management’s] proposal to impose new
     grazing fees.” See also id. at 10 (rejecting “proposal to increase onshore inspection
     fees”).

    Exhibit G, S. Rep. 114-75 at 136: This Senate Appropriations Committee Report
     demonstrates that appropriators exercise oversight of how fees are set, where the
     Committee rejected the Federal Housing Administration’s (“FHA”) request to assess

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         new fees, stating that “[t]he Committee is disappointed that the budget request
         proposing a new fee to offset administrative costs is the same language as in fiscal year
         2015 … [and] the Committee does not include any authority for [the United States
         Department of Housing and Urban Development] to charge a fee to provide additional
         funds for FHA’s administrative costs.”

March 24, 2018                             Respectfully submitted,

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